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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 MARLENE OGATA (5),            )          CRIM. NO. 07-00615 SOM
                               )          CIV. NO. 12-00130 SOM-RLP
                Petitioner,    )
                               )          ORDER DENYING MOTION TO
           vs.                 )          VACATE, SET ASIDE, OR CORRECT
                               )          A SENTENCE BY A PERSON IN
 UNITED STATES OF AMERICA,     )          FEDERAL CUSTODY UNDER 28
                               )          U.S.C. § 2255
                Respondent.    )
 _____________________________ )


      ORDER DENYING MOTION TO VACATE, SET ASIDE, OR CORRECT A
   SENTENCE BY A PERSON IN FEDERAL CUSTODY UNDER 28 U.S.C. § 2255

 I.         INTRODUCTION.

            Marlene Ogata pled guilty to conspiring to distribute

 50 grams or more of methamphetamine and is currently serving a

 210-month sentence.      She was sentenced for her role in a large

 conspiracy involving 2,000 pounds of methamphetamine.             She was

 found responsible for assisting in the distribution of 50 pounds

 of methamphetamine.

            Ogata now seeks to vacate her sentence pursuant to

 28 U.S.C. § 2255 on the ground that her trial and appellate

 counsel provided ineffective assistance.          Because her claims are

 either procedurally barred or lack merit, this court denies her

 motion.   The court declines to issue a certificate of

 appealability.
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 II.        BACKGROUND.

            Ogata was indicted on November 17, 2007.               A superseding

 indictment, filed on July 2, 2008, charged Ogata with having

 conspired to distribute and possess with intent to distribute 50

 grams of more of methamphetamine, its salts, isomers, and salts

 of its isomers.     First Superseding Indictment at 2, July 2, 2008,

 ECF No. 264 (“Indictment”).      According to the indictment, the

 conspiracy spanned the period from 2000 to September 2005.                  Id.

 Ogata allegedly facilitated multi-pound methamphetamine

 transactions for profit.      Id. at 5.

            Ogata pled guilty in this court on July 10, 2008, with

 no plea agreement.      See ECF No. 285.           During her plea colloquy,

 Ogata said she understood the charge against her.                See Transcript

 of Proceedings on July 10, 2008, at 3:14-4:3, ECF No. 592 (“Plea

 Transcript”).    Specifically, she understood that she had been

 charged with having conspired to distribute and possess with

 intent to distribute 50 grams or more of actual methamphetamine

 from 2000 through September 2005.            Id.

            During the Rule 11 plea colloquy, the United States

 summarized the evidence that it would have presented at trial.

 The United States said that Ogata had received pound quantities

 of methamphetamine from some of her co-defendants and other

 individuals and had delivered the drugs to a co-defendant.                  Id.

 at 10:17-11:25.     Ogata allegedly knew that the substance was


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 methamphetamine and that she was furthering the conspiracy to

 distribute methamphetamine in Hawaii.               Id.       Ogata said that she

 had not heard anything wrong in the United States’ summary.                       Id.

 at 12:5-7.       She also agreed that the conspiracy involved “at

 least 50 grams of the pure form of methamphetamine.”                     Id. at

 12:10-13:2.

              On April 27, 2009, this court sentenced Ogata to 210

 months in custody and five years of supervised release for her

 role in the conspiracy.1       See ECF No. 551.           The court adopted the

 Presentence Investigation Report, which stated that Ogata was

 responsible for having assisted in the distribution of at least

 50 pounds of methamphetamine.           Presentence Investigation Report

 at 16.   At the sentencing hearing, Ogata said she had reviewed

 the Presentence Investigation Report and that her lawyer had

 stated all of her objections to that report.                   See Transcript of

 Proceedings on April 27, 2009, at 2:20-3:2, ECF No. 618

 (“Sentencing Transcript”).       Those objections focused on the

 sentencing enhancement relating to Ogata’s role in the offense;

 there were no objections as to drug amount.                   See Defendant’s

 Sentencing Statement, ECF No. 536.




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              Ogata was also sentenced to nine months in custody
 and 48 months of supervised release for having violated her
 supervised release in another case. The terms are to be served
 consecutively. See Sentencing Transcript at 45:6-11.

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            Ogata appealed her sentence, arguing that she was

 entitled to a shorter sentence because she had played only a

 minor role in the conspiracy.           See ECF No. 636.            The Ninth

 Circuit stated that Ogata had played a significant role and

 affirmed her sentence on December 15, 2010.                   Id.

            On March 5, 2012, Ogata moved to vacate her sentence

 pursuant to 28 U.S.C. § 2255, on the ground that her counsel’s

 ineffectiveness had caused her to be denied her Sixth Amendment

 right to counsel.       She seeks an evidentiary hearing.               The court

 finds an evidentiary hearing unwarranted and now denies Ogata’s

 motion.

 III.       LEGAL STANDARD.

            A federal prisoner may move to vacate, set aside, or

 correct his or her sentence if it “was imposed in violation of

 the Constitution or laws of the United States, . . . the court

 was without jurisdiction to impose such sentence, or . . . the

 sentence was in excess of the maximum authorized by law, or is

 otherwise subject to collateral attack.”                28 U.S.C. § 2255.        A

 petitioner must allege specific facts that, if true, entitle the

 petitioner to relief.       See United States v. Howard, 381 F.3d 873,

 877 (9th Cir. 2004); United States v. Rodrigues, 347 F.3d 818,

 824 (9th Cir. 2003) (citing United States v. McMullen, 98 F.3d

 1155, 1159 (9th Cir. 1996)).




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            A judge may dismiss a § 2255 motion if “it plainly

 appears from the motion, any attached exhibits, and the record of

 prior proceedings that the moving party is not entitled to

 relief.”   Rule 4(b), Section 2255 Rules.             A court need not hold

 an evidentiary hearing if the allegations are “palpably

 incredible or patently frivolous,” or if the issues can be

 conclusively decided on the basis of the evidence in the record.

 See Blackledge v. Allison, 431 U.S. 63, 76 (1977); see also

 United States v. Mejia–Mesa, 153 F.3d 925, 929 (9th Cir. 1998)

 (noting that a “district court has discretion to deny an

 evidentiary hearing on a § 2255 claim where the files and records

 conclusively show that the movant is not entitled to relief”);

 Frazer v. United States, 18 F.3d 778, 781 (9th Cir. 1994).

 IV.        ANALYSIS.

            Ogata’s motion asserts three claims couched as

 ineffective assistance of counsel claims.              Her claims arise from

 this court’s determination of the drug amount she was responsible

 for: 50 pounds of methamphetamine.            First, Ogata argues that she

 was sentenced for a crime not alleged in the indictment because

 she was sentenced for having conspired to possess and distribute

 50 pounds of methamphetamine, while the indictment did not refer

 to that amount.     Second, she argues that she was entitled to a

 jury determination of the drug amount.             Third, she argues that

 she was denied her Sixth Amendment right of confrontation when


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 this court relied on the Presentence Investigation Report in

 determining the drug amount, instead of giving Ogata an

 opportunity to cross-examine the witnesses whose statements

 formed the bases for conclusions in the Presentence Investigation

 Report.   Ogata argues that her counsel was ineffective in failing

 to raise any of these arguments at trial or on appeal.

            The court notes that, had Ogata not couched her

 substantive arguments as ineffective assistance of counsel

 claims, they would be procedurally barred.                   Even when a § 2255

 petitioner has not raised an alleged error at trial or on direct

 appeal, the petitioner is procedurally barred from raising an

 issue in a § 2255 petition if it could have been raised earlier,

 unless the petitioner can demonstrate both “cause” for the delay

 and “prejudice” resulting from the alleged error.                   See United

 States v. Frady, 456 U.S. 152, 167-68 (1982) (“[T]o obtain

 collateral relief based on trial errors to which no

 contemporaneous objection was made, a convicted defendant must

 show both (1) ‘cause’ excusing his double procedural default, and

 (2) ‘actual prejudice’ resulting from the errors of which he

 complains.”); accord Davis v. United States, 411 U.S. 233, 242

 (1973).   The Presentence Investigation Report explicitly stated

 that Ogata was responsible for assisting in the distribution of

 50 pounds of methamphetamine, and that drug amount was referred

 to at the sentencing hearing.          See Sentencing Transcript


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 at 8:10-25, 12:6.       Ogata could have contested the amount at that

 time or on appeal.      She also could have asked for an evidentiary

 hearing on the drug amount so she could cross-examine the

 witnesses whose testimonies formed the bases for the Presentence

 Investigation Report.       She did not do either.

              As “cause” excusing her failure to raise the issue

 earlier, Ogata argues that her counsel was ineffective.                  Ogata,

 however, fails to show that her counsel was indeed ineffective.

 To establish ineffective assistance of counsel, Ogata must show

 that (1) her counsel’s performance was deficient, and (2) the

 deficient performance prejudiced her defense.                 Strickland v.

 Washington, 466 U.S. 668, 687 (1984).              Ogata’s substantive claims

 not only lack merit as a matter of law, she fails to provide any

 facts indicating that, had her attorney raised her arguments, a

 more favorable result would likely have followed.                 In other

 words, she does not show that any ineffective assistance she may

 have received actually prejudiced her defense.                 Although a

 defendant must meet both prongs of the Strickland test, a court

 “need not determine whether counsel's performance was deficient

 before examining the prejudice suffered by the defendant as a

 result of the alleged deficiencies.”              Id. at 697.     “If it is

 easier to dispose of an ineffectiveness claim on the ground of

 lack of sufficient prejudice . . . that course should be

 followed.”    Id.


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            A.     Ogata Was Properly Sentenced On the Charge Stated
                   in the Indictment.

            Ogata is incorrect in arguing that she was sentenced on

 a charge that was not in the indictment.              She appears to be

 arguing that this court effectively amended the charge in the

 indictment, which referred to a conspiracy to distribute and

 possess 50 grams of methamphetamine, its salts, isomers, and

 salts of its isomers, to a charge relating to 50 pounds of

 generic methamphetamine.

            Ogata was properly sentenced on the charge stated in

 the indictment.     She was charged with having conspired to

 distribute or possess with intent to distribute 50 grams or

 more of methamphetamine.      Indictment at 2 (emphasis added).                 The

 amount of drugs attributable to Ogata beyond the 50 grams

 mentioned in the indictment was a matter for this court to

 determine at sentencing.      See United States v. Reed, 575 F.3d

 900, 924 (9th Cir. 2009); United States v. Kilby, 443 F.3d 1135,

 1140-41 (9th Cir. 2006).      The difference between 50 grams of

 actual methamphetamine and 50 pounds of generic methamphetamine

 did not affect the maximum sentence provided for by law, which

 remained life in prison.      That is, the same penalty statute,

 21 U.S.C. § 841(b)(1)(A), mentioned in the indictment, set the

 penalties for a conspiracy involving 50 grams of actual

 methamphetamine and 50 pounds of generic methamphetamine.                  No

 higher statutory maximum applied based on the 50-pound total.

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 The advisory sentencing guideline range was affected, but a

 guideline range does not amend an indictment.                  The precise

 guideline range is frequently unclear at the time of indictment.

            At the sentencing hearing, this court adopted the

 Presentence Investigation Report, which attributed 50 pounds of

 methamphetamine to Ogata.      The court then sentenced Ogata based

 on that amount.     At no point was Ogata’s indictment amended.

            Ogata’s reliance on United States v. Booker, 543 U.S.

 220 (2005), is misplaced.      In Booker, the Supreme Court stated,

 “Any fact (other than a prior conviction) which is necessary to

 support a sentence exceeding the maximum authorized by the facts

 established by a plea of guilty or a jury verdict must be

 admitted by the defendant or proved to a jury beyond a reasonable

 doubt.”   Id. at 244.     Ogata’s sentence does not exceed the

 maximum sentenced authorized by the facts.                  By statute, the

 maximum sentence for a charge of conspiring to possess with

 intent to distribute or to distribute 50 grams or more of

 methamphetamine is life in custody.            See 21 U.S.C. §§ 841, 846.

 Ogata was sentenced to 210 months in custody.                  Booker is

 inapplicable here.

            To the extent Ogata is arguing that she did not know

 that she could be held accountable for more than 50 grams of

 methamphetamine when she pled guilty, Ogata assured the court

 during her Rule 11 colloquy that she understood she was charged


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 with conspiring to possess with intent to distribute and to

 distribute methamphetamine in the amount of 50 grams or more.

 Plea Transcript at 12:20-13:2.         In addition, the indictment

 explicitly stated that Ogata had facilitated “muti-pound”

 transactions.     Indictment at 7.      The record thus contradicts

 Ogata’s assertions.

             B.    Ogata Was Not Denied Her Right to a Jury Trial.

             Ogata is also incorrect in arguing that she was denied

 her Sixth Amendment right to a jury trial.               She says that the

 “factual basis” for her plea was a conspiracy to distribute only

 50 grams of methamphetamine.       She argues that this court changed

 the factual basis to 50 pounds at the sentencing hearing.                Ogata

 appears to be arguing that a jury, not the court, should have

 determined that the drug amount was actually 50 pounds.

             Ogata misunderstands the charge against her.              The

 indictment clearly charged Ogata with having conspired to

 distribute or to possess with intent to distribute 50 grams or

 more of methamphetamine.      At her plea colloquy, Ogata admitted to

 having conspired to possess with intent to distribute 50 grams of

 actual methamphetamine.      Ogata was entitled to a jury trial only

 on the issue of whether she was responsible for at least 50 grams

 of actual methamphetamine, a matter on which trial became

 unnecessary once she admitted to it.          See Reed, 575 F.3d at 924;

 United States v. Jordan, 291 F.3d 1091, 1094-95 (9th Cir. 2002).


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 That amount triggers a statutory mandatory minimum of ten years

 and a statutory maximum of life in custody.              21 U.S.C.

 § 841(b)(1)(A)(viii).      Additional amounts of methamphetamine

 carry the same mandatory minimum and statutory maximum, because

 the statute applies to “50 grams or more of methamphetamine, its

 salts, isomers, and salts of its isomers.”               Id.   Ogata is not

 entitled to a jury trial on methamphetamine amounts above 50

 grams because those amounts do not increase the statutory

 penalty.    See Blakely v. Washington, 542 U.S. 296, 303-04 (2004).

 They may affect the sentence, but Apprendi v. New Jersey, 530

 U.S. 466 (2000), and its progeny did not require jury trails on

 matters that had no effect on minimum and maximum sentences.                  See

 Booker, 543 U.S. at 220; Blakely, 542 U.S. at 296; United States

 v. Ameline, 409 F.3d 1073 (9th Cir. 2005) (en banc).                 Ogata had

 no right to a jury determination of a methamphetamine amount

 beyond 50 grams of actual methamphetamine.

             C.    Ogata Was Not Denied Her Right of Confrontation.

             Finally, Ogata argues that she was denied her Sixth

 Amendment right of confrontation.           The Confrontation Clause of

 the Sixth Amendment to the United States Constitution provides

 that, “[i]n all criminal prosecutions, the accused shall enjoy

 the right . . . to be confronted with the witnesses against him.”

 Ogata cites Crawford v. Washington, 541 U.S. 36 (2004), and

 argues that she was wrongly denied the opportunity to cross-


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 examine the witnesses whose statements this court indirectly

 relied on in determining that she was responsible for 50 pounds

 of methamphetamine.      The Presentence Investigation Report stated

 that the statements of two individuals, Sheri Lynn Bulacan and

 Ronald Shim, and hotel records established that Ogata was

 responsible for assisting in the distribution of at least 50

 pounds of methamphetamine.       Ogata appears to be arguing that she

 should have been afforded the opportunity to cross-examine

 Bulacan and Shim.

             In Crawford, 541 U.S. at 58, the Supreme Court held

 that, in criminal cases, the Confrontation Clause prohibits the

 introduction of testimonial statements made by an unavailable

 witness when the defendant has not had a prior opportunity to

 cross-examine that witness.       However, Crawford, which addressed

 trial testimony, does not apply at sentencing.             United States v.

 Littlesun, 444 F.3d 1196, 1199 (9th Cir. 2006) (“Thus the law on

 hearsay at sentencing is still what it was before Crawford:

 hearsay is admissible at sentencing.”).           The court could

 nevertheless have held a nonjury evidentiary hearing to resolve

 any dispute, but Ogata did not ask for such a hearing or dispute

 the drug amount.

             Ogata’s argument that she was not actually responsible

 for 50 pounds of methamphetamine is procedurally barred, as it

 was not raised at the sentencing hearing or on direct appeal.


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 See Frady, 456 U.S. at 167-68.         Moreover, at the sentencing

 hearing, Ogata’s counsel acknowledged and even stressed that the

 Presentence Investigation Report attributed 50 pounds of generic

 methamphetamine to Ogata.       See Sentencing Transcript at 8:10-25.

 Ogata’s counsel argued that the 50 pounds was only a small

 percentage of the 2,000 pounds attributed to the conspiracy,

 which made Ogata less culpable than her co-defendants.               Id.

 Ogata offers no reason for having failed to contest the drug

 amount at that time or on appeal.

             Moreover, even if her counsel was deficient in not

 raising the arguments Ogata now asserts (a matter this court does

 not find), Ogata’s present motion fails because Ogata does not

 show that she was prejudiced by her counsel’s failure.               An

 evidentiary hearing is unnecessary because Ogata identifies no

 factual allegations that, if true, would entitle her to relief.

             D.    The Court Declines To Issue a Certificate of
                   Appealability.

             The court also declines to issue a certificate of

 appealability.     An appeal may not be taken to the court of

 appeals from a final order in a § 2255 proceeding “[u]nless a

 circuit justice or judge issues a certificate of appealability.”

 28 U.S.C. § 2253(c)(1)(B).       The court shall issue a certificate

 of appealability “only if the applicant has made a substantial

 showing of the denial of a constitutional right.”              28 U.S.C.

 § 2253(c)(2).     When a district court denies a § 2255 petition on

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 the merits, a petitioner, to satisfy the requirements of section

 2253(c)(2), “must demonstrate that reasonable jurists would find

 the district court’s assessment of the constitutional claims

 debatable or wrong.”         Slack v. McDaniel, 529 U.S. 473, 484

 (2000).    No reasonable jurist would find this court’s assessment

 of the merits of Ogata’s constitutional claims debatable or

 wrong.

 V.           CONCLUSION.

              Ogata’s § 2255 Petition is DENIED.              The court declines

 to issue a certificate of appealability.

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, June 19, 2012.




                                                 /s/ Susan Oki Mollway
                                                Susan Oki Mollway
                                                United States District Judge




 Ogata v. United States, CRIM. NO. 07-00615 SOM; CIV. NO 12-00130 SOM-RLP; ORDER
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